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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

   UNITED STATES OF AMERICA,               )
                                           )
                        Plaintiff,         )
                                           )              8:02CR353
                vs.                        )
                                           )               ORDER
   ORAINA FELLOWS,                         )
                                           )
                        Defendant.         )

         Defendant Oraina Fellows appeared before the court on Thursday,
   February 4, 2010 on a Petition for Warrant or Summons for Offender Under
   Supervision [722]. The defendant was represented by Assistant Federal Public
   Defender Jessica P. Douglas and       the United States was represented by
   Assistant U.S. Attorney Kimberly C. Bunjer. The government did not request
   detention. The Defendant was not entitled to a preliminary examination.
         I find that the Report alleges probable cause and that the defendant should
   be held to answer for a final dispositional hearing before Judge Smith Camp.
         IT IS ORDERED:
         1.     A final dispositional hearing will be held before Judge Laurie Smith
   Camp in Courtroom No.2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South
   18th Plaza, Omaha, Nebraska, on March 8, 2010 at 3:00 p.m . Defendant must be
   present in person.
         2.     The defendant is released on current conditions of supervision.
         DATED this 5th day of February, 2010.

                                                  BY THE COURT:

                                                  s/ F. A. Gossett
                                                  United States Magistrate Judge
